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                                                    U.S. Department of Justice

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                                                                                                        FILED
                                                                  June 2, 2022
                                                                                                    JUN O2 2022
                                                                                                 U. S. DISTRICT COURT
                                                                                               EASTERN DISTRICT Of MO
                                                                                                       ST. LOUIS
 Mr. Gregory J. Linhares, Clerk
 United States District Court
 111 S. 10th Street
 St. Louis, MO 63102

           Re:        United States v. John Collins-Muhammad, Lewis Reed, and Jeffrey Boyd
                      4:22-cr-00297 SRC/SPM

 Mr. Linhares:

        The indictment above returned by the United States Grand Jury in the above captioned
 case on May 25, 2022, was ordered suppressed pending the apprehension of the defendants
 named herein.

         We are now informed that the indictment regarding the above defendants is no longer in
 need of being suppressed, therefore, the suppression of the indictment may be lifted. It is,
 therefore, directed that such be done.


                                                    Very truly yours,

                                                    SAYLER A. FLEMING
                                                    United States Attorney

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